                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                          3:03cr231-FDW


UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff       )
                                              )
               v.                             )                  ORDER
                                              )
BARRAGAN ET AL,                               )
                                              )
                              Defendant       )



This MATTER is before the Court on its own motion to administratively close the case as to

following defendants: ROBERT CARRILLO DIAZ (4) and OMAR JONZALEZ (17) . The

defendants appears to remain a fugitive with no activity taking place in this case in recent times.



It is, therefore, ordered that this case be deemed closed for administrative purposes only, subject

to re-opening upon the apprehension or appearance of the defendants.

                                                  Signed: April 26, 2011




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